                                                                                              FILED
                                                                                         CHARLOTTE, NC

                                                                                            JAN 112017
                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION                              *J$31'*'5'3J*i3"#*"
                                CRIMINAL NO.: 3: l6cr2l4-FDW

UNITED STATES OF AMERICA                              )
                                                      )         CONSENT ORDER AND
                                                      )       JUDGMENT OF FORFEITURE
                                                      )         PENDINC RULE 32.2(c)(2)
JUAN CARLOS SANCHEZ.GARCIA                            )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property. IT IS HEREBY ORDERED THAT:

        I.    The following property is forfeited to the United States pursuant to l8 U.S.C. S 924
andlor 28 U.S.C. $ 2461(c), provided, however, that forfeiture ofspecific assets is subject to any
and all third party petitions under    2l U.S.C. $ 853(n). pending final adjudication herein:

       One Ruger P89 9mm pistol, serial number 307 -422288 and ammunitionl

       One Mossberg M8E 20 gauge shotgun, serial number MV48555U and ammunition;
       and

       One Titan .25 caliber pistol, serial number D828326 and ammunition

       2.       The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody ofthe above specific asset(s).

       3.       If and to the extent required by Fed. R. Crim. P.32.2(b)(6),2l U.S.C. g 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
offorleiture.

       4.       Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days ofthe publication ofnotice or the receipt ofnotice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

       5.       Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identify, locate. or dispose of
the property, including depositions, intenogatories, and request for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.




   Case 3:16-cr-00214-FDW-DSC               Document 48         Filed 01/11/17       Page 1 of 2
              6.      As to any specific assets, following the Court's disposition ofall timely petitions,
      a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
      become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
      States shall have clear title to the property, and shall dispose ofthe property according to law.

              The parties stipulate and agree that the aforementioned asset(s) constitute property derived
      from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
      facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to I 8
      U.S.C. $ 924 andJor 28 U.S.C. $ 2461 (c). The Defendant hereby waives the requirements of Fed.
      R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
      announcement ofthe forfeiture at sentencing, and incorporation ofthe forfeiture in the judgment
      against Defendant. If the Defendant has previously submitted a claim in response to an
      administrative forfeiture proceeding regarding any of this property. Defendant hereby withdraws
      that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
      right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
      consents to destruction by federal. state, or local law enforcement authorities upon such legal
      process as they, in their sole discretion deem to legally sufficient, and waives any and all right to
      further notice of such process or such destruction.


      JILL WESTMORELAND ROSE
      UNITED STATES ATTORNEY



(
        '|,/r;/h/.;
               sMtrH
    "/rexNErH M.                                              JUAN CARLOS
      Assistant United States Attomey




                                                              MARCOS ROBERTS,
                                                              Attorney lor Defendant




      Signed this the
                             t\ dayofJanuary.20l7.
                        ll


                                                            ntr-
                                                      UNITED STATES A^E$TL^| C                        JUDGE




         Case 3:16-cr-00214-FDW-DSC                 Document 48         Filed 01/11/17        Page 2 of 2
